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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                        )       In Proceedings Under Chapter 13
                                              )       Honorable Carol A. Doyle
Patricia M. Bach,                             )
                        Debtor.               )       Case No. 18-07070

          NOTICE OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         TO: DEBTOR, DEBTOR’S COUNSEL, CHAPTER 13 TRUSTEE:

         Please take notice that on June 9, 2020, at 9:30 a.m. or as soon thereafter as the same may

be heard, the undersigned will present to the Honorable Carol A. Doyle (or any other judge who

may be presiding in his or her place), and present the attached motion for relief from the

automatic stay.

         This motion will be presented and heard telephonically. No personal appearance in

court is necessary or permitted. To appear and be heard telephonically on the motion, you must

set up and use an account with Court Solutions, LLC. You can set up an account at

www.CourtSolutions.com or by calling Court Solutions at (917) 746-7476.

         If you object to this motion and want it called on the presentment date above, you must

file a Notice of Objection no later than two (2) business days before that date. If a Notice of

Objection is timely filed, the motion will be called on the presentment date. If no Notice of

Objection is timely filed, the court may grant the motion in advance without a hearing.


                                              RIEZMAN BERGER, P.C.

                                              /s/ Kathryn A. Klein
                                              Kathryn A. Klein, #06199235
                                              7700 Bonhomme, 7th Floor
                                              St. Louis, MO 63105
                                              (314) 727-0101
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                          UNITED STATES BANKRUPTCY COURT
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In re:                                       )       In Proceedings Under Chapter 13
                                             )       Honorable Carol A. Doyle
Patricia M. Bach,                            )
                       Debtor.               )       Case No. 18-07070

                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Nationstar Mortgage LLC d/b/a Champion Mortgage Company ("Secured

Creditor"), by and through the undersigned counsel, hereby moves this Court, pursuant to 11

U.S.C. § 362(d), for a modification of the automatic stay provisions for cause, and, in support

thereof, states the following:

         1.    Debtor filed a voluntary petition pursuant to Chapter 13 of the United States

Bankruptcy Code on March 12, 2018.

         2.    Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

§ 1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

affecting the jurisdiction of the Bankruptcy Courts generally.

         3.    On July 14, 2006, Patricia M. Bach, executed and delivered an Adjustable Rate

Home Equity Conversion Note (“Note”) and an Adjustable Rate Home Equity Conversion

Mortgage (“Mortgage”) securing payment of the Note up to a maximum principal amount of

$345,000.00 to Wells Fargo Bank, N.A. The Mortgage was recorded on July 26, 2006 as

Document ID Number 0620733004 of the Public Records of Cook County, Illinois. The loan

was transferred to Secured Creditor, and upon information and belief, Secured Creditor is the

holder of the Note. True and accurate copies of documents establishing a perfected security

interest and ability to enforce the terms of the Note are attached hereto as Composite Exhibit

“A.” The documents include copies of the Note with any required indorsements, Recorded
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Mortgage, Assignment(s) of Mortgage, and any other applicable documentation supporting the

right to seek a lift of the automatic stay and foreclose, if necessary.

       4.      The Mortgage provides Secured Creditor a lien on the real property located in

Cook County, Illinois, and legally described as stated in Composite Exhibit “A.” This property is

located at the street address of: 1547 Harold Avenue, Melrose Park, IL 60160.

       5.      The terms and conditions of the Note and Mortgage are in default due to Debtor’s

failure to perform an obligation under the mortgage by failing to maintain post-petition property

taxes and Secured Creditor’s placement in the amount of $1,377.79. As such, Secured Creditor’s

security interest in the subject property is being significantly jeopardized by Debtor’s failure to

comply with the terms of the subject loan documents while Secured Creditor is prohibited from

pursuing lawful remedies to protect such interest.

       6.      The payoff on the Note, good through April 30, 2020, is $178,255.94.

Documentation supporting this claim is attached hereto as Exhibit “B.”

       7.      According to Debtor’s Schedule A, the value of the property is $174,000.00. See

Exhibit “C” which is attached hereto and permissible as a property valuation under Fed. R. Evid.

803(8). There is no substantial equity in the property.

       8.      Secured Creditor respectfully requests the Court grant it relief from the Automatic

Stay in this cause pursuant to 11 U.S.C. §362(d)(1) of the Bankruptcy Code, for cause, namely

the lack of adequate protection to Secured Creditor for its interest in the above stated collateral in

that post-petition payments to property taxes are not being made. The value of the collateral is

insufficient in and of itself to provide adequate protection which the Bankruptcy Code requires to

be provided to the Secured Creditor.         Secured Creditor additionally seeks relief from the

Automatic Stay pursuant to 11 U.S.C. §362(d)(2) of the Bankruptcy Code, as the collateral is

unnecessary to an effective reorganization of the Debtor’s assets.
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       9.      If Secured Creditor is not permitted to enforce its security interest in the collateral

or be provided with adequate protection, it will suffer irreparable injury, loss, and damage.

       10.     Once the stay is terminated, the Debtor will have minimal motivation to insure,

preserve, or protect the collateral; therefore, Secured Creditor requests that the Court waive the

14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

       11.     Secured Creditor has incurred court costs and attorney’s fees in this proceeding

and will incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

and protecting the property, all of which additional sums are secured by the lien of the mortgage.

Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or alternatively,

leave to seek recovery of its reasonable attorneys’ fees and costs in any pending or subsequent

foreclosure proceeding.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.


                                              Respectfully submitted,
                                              RIEZMAN BERGER, P.C.

                                              /s/ Kathryn A. Klein
                                              Kathryn A. Klein, #06199235
                                              7700 Bonhomme, 7th Floor
                                              St. Louis, MO. 63105
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                                              Attorneys for Secured Creditor
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                                      PROOF OF SERVICE

        The undersigned states that I served the Motion for Relief from the Automatic Stay,
Notice of said Motion, and proposed Order, all as attached, upon the Debtor by postage prepaid,
in the United States Mail, by first-class mail and upon the other parties named below via
electronic means, on June 1, 2020.


Patricia M. Bach                                   Debtor
1547 N. Harold Ave.
Melrose Park IL 60160

David M Siegel                                     Attorney for Debtor
790 Chaddick Drive
Wheeling IL 60090

Tom Vaughn                                         Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Chicago IL 60603

Office of the United States Trustee
219 S. Dearborn St., Rm. 873
Chicago, IL 60604


                                            /s/ Kathryn A. Klein
